110 F.3d 60
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard L. MASSEY, Jr., Petitioner--Appellant,v.William L. SMITH;  Attorney General of the State ofMaryland, Respondents--Appellees.
    No. 96-6948.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 28, 1997Decided:  March 24, 1997
    
      Richard L. Massey, Jr., Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Ann Norman Bosse, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      Before LUTTIG and MOTZ, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his petition filed under 28 U.S.C. § 2254 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny the Appellant's motion for a certificate of probable cause, deny a certificate of appealability, and dismiss the appeal on the reasoning of the district court.  Massey v. Smith, No. CA-94-1861-L (D. Md. June 6, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    